Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 1of14

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

JOHNNY WILLIAMS CIVIL ACTION

VERSUS NO.:

SEA SUPPORT VENTURES LLC,

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* SECTION“ ” MAGISTRATE #
PFERD INC., PFERD NORTH *

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AMERICA INC. and AUGUST JUDGE
RUGGEBERG GmbH & CO. KG

MAGISTRATE

JURY TRIAL
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FILED:

DEPUTY CLERK
COMPLAINT FOR DAMAGES

 

NOW INTO COURT, through undersigned counsel comes Plaintiff, JOHNNY
WILLIAMS, who files his Complaint against SEA SUPPORT VENTURES LLC, PFERD INC,
PFERD NORTH AMERICA, INC., AND AUGUST RUGGEBERG GmbH & CO. KG for
personal injury damages and alleges upon information and belief as follows:

JURISDICTION
I.

Jurisdiction of this Honorable Court is based on the Jones Act, (46 U.S.C. § 30104, et seq.),

and under the General Maritime Law for general maritime negligence and unseaworthiness and for

maintenance and cure as well as diversity of Citizenship 28 U.S.C. § 1332, et seq.

Page 1 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 2 of 14

PARTIES

Il.

Parties named herein are as follows:

A. Named Plaintiff herein is:

1.

JOHNNY WILLIAMS (hereinafter Plaintiff), a person of full age and

majority who resides at 123 East 165" St., Galliano, Louisiana.

B. Named Defendants herein are:

1.

SEA SUPPORT VENTURES LLC, a Louisiana company with its principal
place of business at 104 ABC Lane, Cut Off, Louisiana 70345, that may be
served through its registered agent, Randy J. James 104 ABC Lane Cutoff,
Louisiana 70345

PFERD INC., a foreign company doing business in the State of Louisiana
with its principal place of business at 9201 Heather Avenue, Milwaukee,
Wisconsin 53224, that may be served through its registered agent, CT
Corporation System, 3867 Plaza Tower Dr., Baton Rouge, LA 70816.
PFERD NORTH AMERICA INC., a foreign company doing business in
the State of Louisiana and subject to suing and being sued in the State of
Louisiana.

AUGUST RUGGEBERG GmbH & Co.KG, a foreign company doing
business in the State of Louisiana and subject to suing and being sued in the

State of Louisiana

II.

A jury trial is requested as to all issues in this matter.

Page 2 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 3 of 14

FACTS
IV.

On or about January 14, 2021, Plaintiff was employed by Defendant, SEA SUPPORT
VENTURES LLC, as a captain, seaman and a member of the crew of a fleet of vessels owned and
or operated by SEA SUPPORT VENTURES LLC for over 21 years, holding numerous Captains
licenses and is entitled to remedies under the general maritime law and Jones Act.

V.

On January 14, 2021, in connection with his work, Plaintiff was requested by his employer to
assist in clearing debris and was given a grinder normally utilized as part of the appurtenances of the
fleet of vessels to which he is permanently assigned to perform the task in question of clearing debris
for a dock. The vessels to which Plaintiff is permanently assigned were within the immediate
vicinity of the work being performed. The discs on the grinder provided to Plaintiff by his Jones Act
employer disintegrated and exploded causing severe injuries to Plaintiff's arm and body.

VI.

At all times during the incident in question, Plaintiff was following the instructions of his

supervisors employed by SEA SUPPORT VENTURES LLC.
VII.

As aresult of the above-described incident, Plaintiff suffered severe and disabling injuries,
including but not limited to, trauma and damage to his arm, hand, bones, tendons as well as
psychological damages, severe emotional trauma, loss of future life pleasures, loss of wages and
impairment to earning capacity, disfigurement and permanent impairment.

VIII.

Atall times pertinent herein all work being performed in the vicinity of the vessels and with

Page 3 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 4 of 14

tools and appurtenances from the vessels, including specifically the work performed by Plaintiff and
his co-workers, was under the direct supervision and control of SEA SUPPORT VENTURES
LLC.
CAUSES OF ACTION
JONES ACT
IX.

Plaintiff brings this action against Defendant, SEA SUPPORT VENTURES LLC, under
the provisions and the statutes of the United States, more particularly the Jones Act, 46 U.S.C. §
30104, et seg. of the United States Code.

X.

Under the Jones Act, Plaintiff's damages were the proximate and direct result of the
negligent acts of the Defendant, SEA SUPPORT VENTURES LLC in failing to:

1. Properly equip, man, provision, maintain and ensure Plaintiff provided equipment in

condition suitable to perform the task requested.

2. Properly implement an overall plan to complete the tasks at hand in a safe and non-

hazardous manner.

3. Provide Plaintiff with a safe and non-hazardous workplace.

4. Provide safe and sufficient tools and workforce to complete the tasks at hand.

5. Properly instruct and outfit Plaintiff.

6. Provide proper safety equipment.

7. Provide training and instruction to Plaintiff's fellow crew members.

8. Provide proper maintenance, warnings, and instructions regarding the dangers of

using grinders and associated risks of grinding discs

Page 4 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 5 of 14

9. Creating an unsafe work environment.
10. ‘Failing to mitigate or warn of known hazards, including hazards created by
Defendants; and

il. Failure to cease operations prior to injury after observing characteristics of the discs

prior to the injury involved herein.

12. Failure to rigorously evaluate and inspect the grinder and discs prior to ensure they

work properly prior to providing to Plaintiff for use

13. Other acts of negligence which will be proven upon the trial of this cause.

GENERAL MARITIME LAW
UNSEAWORTHINESS and NEGLIGENCE
XI.

Plaintiff reiterating and realleging each preceding allegation, additionally and/or alternatively
alleges that Defendant, SEA SUPPORT VENTURES LLC, are liable unto Plaintiff under General
Maritime Law for negligence, and/or for a breach of the warranty of seaworthiness, extending to the
vessel or fleet of vessels involved herein, including its crew, gear, appurtenances and tools provided
to Plaintiff to perform a task.

XII.

Under the General Maritime Law, it was the non-delegable duty of Defendants, SEA
SUPPORT VENTURES LLC, to furnish Plaintiff with a safe place in which to work and with safe
tools, gear, appurtenances, equipment, competent supervisors and co-workers, and to conduct
operations in a safe and proper manner, in connection with Plaintiff's injuries and disability, SEA
SUPPORT VENTURES LLC, was negligent in the operation, staffing and provisioning of tools

that were not safe in its operations on or about January 14, 2021.

Page 5 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 6 of 14

XIII.

Plaintiff avers that through the actions and/or inactions of Defendant, SEA SUPPORT
VENTURES LLC, that the tools provided to Plaintiff were defective and breached their non-
delegable duty to provide him with sufficient tools to safely perform his task.

XIV.

The injuries, disabilities and damages sustained by Plaintiff in the aforementioned
Paragraphs of this Complaint were caused by the defective nature of the appurtenance tools of the
vessels provided and rendered the operation Plaintiff was performing in furtherance of the fleet of
vessels interest unseaworthy and by the negligence of SEA SUPPORT VENTURES LLC, as set
forth herein and in the manning, provision, control, equipping and providing tools to Plaintiff that
were unsafe on or about January 14, 2021.

MAINTENANCE AND CURE
XV.

As an employee and seaman of SEA SUPPORT VENTURES LLC Plaintiff is entitled
under General Maritime Law to the payment of maintenance and cure until his reaching of maximum
medical cure.

PRODUCTS LIABILITY CLAIM AS TO PFERD INC, PFERD NORTH AMERICA INC.
AND AUGUST RUGGEBERG GmbH & CO. KG

XVI.
This Honorable Court has jurisdiction over this matter pursuant to Diversity of Citizenship,
pursuant to 28 U.S. Code § 1332, et seg.
XVII.
At the time Plaintiff was utilizing the grinder provided to him by SEA SUPPORT

VENTURES LLC in connection with his assigned duties by his employer on January 14, 2021 the

Page 6 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 7 of 14

PFERD four and a half inch diameter EHT 115-1.0 SG STEELOX discs ( hereinafter referred to as
the PFERD DISC) which disintegrated, exploded and caused injury to Plaintiff were at all times
designed ,manufactured and sold by PFERD INC. AND/OR PFERD NORTH AMERICA INC.
AND/OR AUGUST RUGGEBERG GmbH & CO. KG (hereinafter referred to as the PFERD
DEFENDANTS.)

XVIII.

Plaintiff was not aware or informed by any one of the problems associated with the PFERD
DISC at issue and did not know and could not have known about the problems associated with same.

XIX.

At no time prior to January 14, 2021, when the PFERD DISC disintegrated exploded and
caused serious injury to Plaintiff, did any of the PRERD Defendants issue any notices or warnings of
any defects in this product, and in fact failed to notify or warn plaintiffs or other users of
Defendants’ product about the known complications and lack of efficacy of the product at issue
herein.

XX.

Upon information and belief, PFERD defendants knew or had reason to know, of the
problems with their product, THE PFERD DISC, as well as the lack of efficacy of their product
well in advance of January 14,2021. This knowledge was concealed from Plaintiff and the public at
large during this time.

XXI.
The PFERD Defendants’ dangerous and careless conduct of concealment, equates to
conduct purposely committed, without regard for the rights and safety of the Plaintiff or the public at

large.

Page 7 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 8 of 14

XXII.

As a result of the PFERD Defendants’ actions the Plaintiff was unaware and could not
reasonably know or have learned through reasonable diligence that Plaintiff had been exposed to the
risks alleged herein and that those risks were the direct and proximate result of the PFERD
Defendants’ acts and omissions.

COUNT I --PRODUCTS LIABILITY CLAIM - L.S.A.-R.S.9:2800.54
XXIII.
Plaintiffs re-allege all allegations contained in this Complaint.
XXIV.

The PFERD DISC, designed and manufactured by the PFERD Defendants, which caused
severe injury to Plaintiff were defective in manufacture. When the PFERD Defendants’ PFERD
DISC left the PFERD Defendants’ control, they deviated in a material way from the manufacturer’s
specifications and/or performance standards for the product and/or from otherwise identical products
manufactured by the PFERD Defendants. Moreover, the PFERD DISC: a) proximately caused
plaintiffs’ damages, b) the damaging characteristic of the product rendered it unreasonably
dangerous, and c) plaintiffs’ damages arose from a reasonably anticipated use of the product.

COUNT II --PRODUCTS LIABILITY CLAIM - L.S.A.-R.S.9:2800.56
XXV.
Plaintiffs re-allege all allegations contained in this Complaint.
XXVI.

The PFERD DISC, designed and manufactured by the PFERD Defendants, which caused

injury to Plaintiff was unreasonably dangerous in design at the time it left the PFERD Defendant’s

control there existed alternative designs for the PFERD DISC that would have prevented plaintiff's

Page 8 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 9 of 14

damages, but which were not used by the designing/manufacturing defendants even though using the
alternative designs would have outweighed the manufacturers’ burden of adopting such alternative
designs.
XXVII.
The PFERD Defendants are therefore liable unto plaintiffs for all of their damages under
L.S.A.-R.S. 9:2800.56 and all other applicable portions of the Louisiana Products Liability Act.

COUNT III --PRODUCTS LIABILITY CLAIM AGAINST
L.S.A.-R.S.9:2800.57

 

XXVIII.
Plaintiffs re-allege all allegations contained in this Complaint.
XXIX.

The PFERD DISC, designed and manufactured by the PFERD Defendants, which caused
injury to Plaintiff on January 14, 2021 was unreasonably dangerous at the time it left Defendants’
control because Defendants, as the designers/manufacturers, failed to provide adequate warnings of
the severely dangerous defects and side-effects of the product.

XXX.

The PFERD DISC was defective at the time of their manufacture, development, production,
testing, inspection, endorsement, prescription, sale and distribution, in that, and not by way of
limitation, said product and its warnings, instructions and directions failed to warn of the dangerous
defects and propensities of said product, which risks were known or should have been scientifically
known to the PFERD Defendants. PFERD Defendants, knew or should have known, of the

defective conditions, characteristics and risks associated with said product, as previously set forth.

Page 9 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 10 of 14

XXXI.

At all times herein mentioned, the PFERD DISC was defective, and the PFERD
Defendants, knew or should have known, that the products were to be used by the user without
inspection for defects therein. Plaintiffs neither knew, nor had reason to know, at the time of the use
of the products, of the existence of the defects.

XXXII.
Had plaintiffs been aware of the defects, he would not have used them in connection
with the work assigned by his maritime employer.
XXXII.
The PFERD Defendants are therefore liable unto plaintiff for all of their damages under
L.S.A.-R.S. 9:2800:57 and all other applicable portions of the Louisiana Products Liability Act.

COUNT IV ---PRODUCTS LIABILITY CLAIM AGAINST
L.S.A.-R.S.9:2800.58

XXXIV.
Plaintiffs re-allege all allegations contained in this Complaint.
XXXV.

The PFERD DISC, manufactured by the PFERD Defendants, which caused injury to
Plaintiff, was unreasonably dangerous because it did not conform to the express or implied
warranties which the PFERD Defendants made about it.

XXXVI.

Although the PFERD Defendants knew or should have known that dangerous defects and
risks were associated with the use of the PFERD DISC, the PFERD Defendants proceeded to or
permitted the devices to be advertised, promoted and/or sold without adequate warnings of the

serious side effects and dangerous risks.

Page 10 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 11 of 14

XXXVII.

As described above, the PFERD Defendants impliedly and expressly warranted that their
PFERD DISC was safe for use and would not fail, fracture, or cause the adverse health effects
described herein.

XXXVIII.

Had the PFERD Defendants, PFERD DISC, conformed to the implied and express
warranties which the PFERD Defendants made about them, plaintiff would not have been injured as
they were. Defendants are therefore liable unto plaintiffs for all of their damages under L.S.A.-R.S.
9:2800:58 and all other applicable portions of the Louisiana Products Liability Act..

COUNT V —- REDHIBITORY DEFECT CLAIM
XXXIX.
Plaintiff re-alleges all allegations contained in this Complaint.
XL.

The PFERD DISC, designed, manufactured, marketed, sold, and/or distributed by the
PFERD defendants, which caused severe injury to plaintiff, contained a redhibitory defect as
contemplated by Louisiana Civil Code in that it was unreasonably dangerous and/or defective as
previously stated. These defects rendered the PFERD DISC so useless and/or its use so
inconvenient that it must be presumed that plaintiff would not have used the product had they known
of the defects.

XLI.
The PFERD Defendants warranted against such redhibitory defects in their PFERD DISC.

XLII.

Page 11 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 12 of 14

The PFERD Defendants are deemed to know that their PFERD DISC had a redhibitory
defect as manufacturers, sellers and/or distributors under the Louisiana Civil Code article 2545 and
are, therefore, deemed to be in bad faith.

XLII.

The PFERD Defendants knew or should have known that the PFERD DISC they
manufactured, marketed, sold and/or distributed had a defect but omitted to declare it and/or
declared that their product had a quality which they knew it did not have and are therefore liable
under Louisiana’s redhibition laws.

XLIV.

The PFERD Defendants are liable to plaintiff for (1) the return of the purchase price of the
PFERD DISC; (2) reimbursement of the reasonable expenses occasioned by the sale; (3) damages;
and (4) attorneys’ fees under Louisiana’s redhibition laws.

XLV.

As a direct and proximate result of Defendants’ negligent misrepresentations, plaintiff
suffered the damages described herein.

XLVI.

As a result of the defective PFERD DISC and the PFERD defendants’ conduct as outlined
herein as well as the conduct of SEA SUPPORT VENTURES LLC, your petitioner has had to
incur medical expenses, pain and suffering, emotional distress and physical injuries which include
but are not limited to: additional surgery, excessive pain, difficulty in using hand and arm, inability
of fracture site to heal adequately, disfigurement, loss of wages and impairment to future earning
capacity, and other damages that shall be proven at trial.

XLVII.

Page 12 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 13 of 14

Defendants, PFERD INC., PFERD NORTH AMERICA INC., AUGUST RUGGEBERG
GmbH & CO. KG along with SEA SUPPORT VENTURES LLC combined to cause injury to
Plaintiff herein and are liable jointly, severally and in solido with Plaintiff for all damages that are
reasonable in the premises, together with legal interest from the date of judicial demand until paid
and for all costs of these proceedings, by reason of the following:

JURY TRIAL
XLVIII.

Plaintiff desires and is entitled to a trial by jury on the issues sued upon herein.

WHEREFORE, the petitioner prays that defendants, SEA SUPPORT VENTURES LLC,
PFERD INC., PFERD NORTH AMERICA INC., AUGUST RUGGEBERG GmbH & CO. KG

be served with a copy of this petition, that they be required to appear herein and answer same, that
after all legal delays and due proceedings had there be judgment rendered herein in favor of
petitioner, JOHNNY WILLIAMS, and against the defendants, SEA SUPPORT VENTURES
LLC, PFERD INC, PFERD NORTH AMERICA INC., AND AUGUST RUGGEBERG Gmbh
& CO. KG jointly, severally and in solido, in the amounts to be determined by the jury and this
Court, along with legal interest from the date of judicial demand and for all costs of these

proceedings.

Page 13 of 14
Case 2:22-cv-00090-JTM-KWR Document1 Filed 01/14/22 Page 14 of 14

Respectfully submitted,
HUFFT & HUFFT

/s/ Patrick H. Hufft

 

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Page 14 of 14
